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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

In Re Flint Water Cases                        No. 5:16-cv-10444-JEL-MKM

                                               HON. JUDITH E. LEVY

                                               MAG. MONA K. MAJZOUB


   PLAINTIFFS’ MOTION FOR AN AWARD OF ATTORNEYS’ FEES AND
                 REIMBURSEMENT OF EXPENSES

        For the reasons stated in the attached Memorandum of support, and supporting

  declarations and exhibits, Plaintiffs, through their counsel, move the Court pursuant

  to Federal Rules of Civil Procedure 23(h) and 54(d) to approve their proposal for

  attorneys’ fees to be awarded to Movants Co-Lead Class Counsel and Co-Liaison

  Counsel, as well as Settlement Subclass Counsel and the law firms that have worked

  with and under the supervision of Co-Lead Class Counsel, including the Plaintiffs’

  Executive Committee (“Plaintiffs’ Counsel”), as described in further detail in the

  accompanying Memorandum, and their request for reimbursement of expenses

  incurred by Plaintiffs’ Counsel.1




        1
          The Settling Defendants (defined in the attached Memorandum) have agreed
  to take no position with respect to this motion. See Notice Regarding Pls.’ Mot. for
  Settlement Approval, Ex. A, Amended Settlement Agreement ¶ 11.2, Jan. 15, 2021,
  ECF No. 1394-2, PageID.54160.

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  Dated: March 8, 2021                     Respectfully submitted,

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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

In Re Flint Water Cases                    No. 5:16-cv-10444-JEL-MKM

                                           HON. JUDITH E. LEVY

                                           MAG. MONA K. MAJZOUB


   MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION FOR AN
 AWARD OF ATTORNEYS’ FEES AND REIMBURSEMENT OF EXPENSES




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            CONCISE STATEMENT OF THE ISSUES PRESENTED

 1.   Should the Court approve Plaintiffs’ proposed structure for attorneys’ fees to be
      awarded to Plaintiffs’ Counsel?

 2.   Should the Court approve Plaintiffs’ motion for a common benefit assessment
      from the Qualified Settlement Fund?

 3.   Should the Court approve Plaintiffs’ motion for reimbursement of expenses
      incurred by Plaintiffs’ Counsel?




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          CONTROLLING OR MOST APPROPRIATE AUTHORITY

   • Fed. R. Civ. P. 23(h)

   • Fed. R. Civ. P. 54(d)

   • Mich. Ct. R. 8.121

   • Barnes v. City of Cincinnati, 401 F.3d 729 (6th Cir. 2005)

   • In re Bayou Sorrel Class Action, No. 6:04CV1101, 2006 WL 3230771 (W.D. La.
     Oct. 31, 2006)

   • Boeing Co. v. Van Gemert, 444 U.S. 472 (1980)

   • Bowling v. Pfizer, Inc., 102 F.3d 777 (6th Cir. 1996)

   • In re Cardizem CD Antitrust Litig., 218 F.R.D. 508 (E.D. Mich. 2003)

   • Gascho v. Glob. Fitness Holdings, LLC, 822 F.3d 269 (6th Cir. 2016)

   • In re Guidant Corp. Implantable Defibrillators Prod. Liab. Litig., No. MDL 05-
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   • In re Nat’l Football League Players’ Concussion Inj. Litig., No. 2:12-MD-02323-
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   • In re NuvaRing Prod. Liab. Litig., No. 4:08 MDL 1964 RWS, 2014 WL 7271959
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   • Rawlings v. Prudential-Bache Props., Inc., 9 F.3d 513 (6th Cir. 1993)

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                                I.    INTRODUCTION

       Working together, Plaintiffs’ Counsel2 have achieved a landmark, $641.25

 million partial settlement in these cases that the Court has rightly called “complex” and

 “intensely litigated.”3 This substantial recovery was secured only through the focused

 and diligent advocacy and considerable investment of time, expenses, and risk-taking of

 Plaintiffs’ Counsel, led by Co-Liaison Counsel, Co-Lead Class Counsel, the Plaintiffs’

 Executive Committee for the Proposed Class (“Plaintiffs’ Executive Committee”), and

 Subclass Settlement Counsel.

       Plaintiffs’ Counsel have worked on a contingent basis for more than five years

 now, without compensation of any kind, to achieve this remarkable result. Moreover,

 Plaintiffs’ Counsel have invested and will continue to invest time and resources into

 implementing this Settlement (while also continuing to litigate against the Non-Settling

 Defendants4). To compensate Plaintiffs’ Counsel for their services and the risk they


       2
        “Plaintiffs’ Counsel” refers to Movants Co-Lead Class Counsel and Co-Liaison
 Counsel, as well as Settlement Subclass Counsel and the law firms that have worked
 with and under the supervision of Co-Lead Class Counsel, including the Plaintiffs’
 Executive Committee.
       3
         Op. & Order Granting Pls.’ Mot. to Establish Settlement Claims Procedures &
 Allocation & for Preliminary Approval of Class Settlement Components & Granting
 Pls.’ Mot. for an Order Adopting the Proposed Mot. for Approval of Wrongful Death
 Settlement (the “Prelim. Approval Order”) at 13, Jan. 21, 2021, ECF No. 1399,
 PageID.54410.
       4
        “Non-Settling Defendants” refers to Lockwood, Andrews & Newman, Inc.,
 Lockwood, Andrews & Newman, P.C., Leo A. Daly Company, Veolia North America,
 LLC, Veolia North America, Inc., and Veolia Water North America Operating Services,
 LLC.

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 undertook in prosecuting these cases, Plaintiffs request that the Court approve their

 proposed framework for attorneys’ fees to be awarded to Plaintiffs’ Counsel (the “Fee

 Proposal” or “Proposal”).

       The Fee Proposal is designed to provide reasonable and fair compensation to

 Plaintiffs’ Counsel and to ensure equitable treatment for all who make claims under the

 Settlement. It also provides distinct fees for work performed by both Co-Liaison

 Counsel and Class Counsel for the benefit of all Plaintiffs (“common benefit work”), for

 Class Counsel’s work on behalf of the Settlement Subclasses, and for non–common

 benefit work performed by counsel individually retained by individual Claimants. A

 significant amount of the work performed by Plaintiffs’ Counsel has benefitted all

 Plaintiffs in this litigation. Long-standing precedent recognizes that in common fund

 cases, counsel are entitled to compensation for such common benefit work.

       As compensation for common benefit work performed by Plaintiffs’ Counsel, the

 Proposal includes a global Common Benefit Assessment (“CBA”) of 6.33% of the

 Qualified Settlement Fund (the “Fund”), to be divided equally between Co-Lead Class

 Counsel and Co-Liaison Counsel and paid beginning on final approval of the Settlement

 and thereafter as the Fund is further funded. Beyond that global CBA, the Proposal

 provides that Co-Lead Class Counsel will be compensated for their work on behalf of

 the Settlement Subclasses, in the amount of 27% of the value of all resolved Subclass

 claims, and 27% of the value of the Programmatic Relief Sub-Qualified Settlement



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 Fund.

         Contingency fees for individually retained counsel (“IRC”) are capped at 27%.

 The Proposal also caps the contingency fee for IRC at a lower 10% for any contingency

 fee contract entered on or after July 16, 2020 and assesses an additional 17% CBA of

 the gross award to such Claimant who retained counsel, or as to Minors assisted by

 counsel, on or after July 16, 2020. Contingency fees for IRC on such claims are

 correspondingly capped such that no claim is subject to total fees greater than 27% after

 the 6.33% global CBA. Other than the global 6.33% CBA, which serves to provide some

 upfront compensation to counsel who have led these cases for the benefit of all Plaintiffs,

 all fees are to be distributed only as and to the extent that claims are paid out.

         In this way, consistent with the law and equitable principles, the Proposal has all

 claims contribute an equal pro rata share to Plaintiffs’ Counsel’s fees, while also

 contributing to common benefit compensation in proportion to Claimants’ reliance on

 common benefit work. The structure of the Proposal is therefore sound. Moreover, the

 amounts requested under the Proposal are reasonable under the factors courts weigh in

 determining fee awards. The percentage amounts contemplated by the Proposal are in

 line with the awards approved in similar complex litigation. Plaintiffs’ Counsel’s efforts,

 already commended by the Court, have produced a sizable recovery for the Plaintiffs,

 with the potential for additional recovery from the Non-Settling Defendants. Plaintiffs’

 Counsel also took on considerable risk in litigating these complex cases on a contingent



                                              3
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 basis. Plaintiffs’ Counsel have invested 182,571 hours of work into this litigation,

 representing more than $84 million of lodestar at current rates, and have advanced more

 than $7 million in expenses. Plaintiffs’ Counsel could have received no reimbursement

 whatsoever had the cases failed. Finally, public policy supports incentivizing counsel to

 take on important cases like these without upfront or certain compensation, as they

 otherwise might not be undertaken.

          Plaintiffs’ Counsel also request reimbursement from the Fund for their expenses

 of $7,158,987.33 incurred to date in prosecuting this litigation, which have also provided

 a common benefit to all Plaintiffs.

                              II.   PROCEDURAL HISTORY

          Plaintiffs filed the first complaints related to this litigation in November 2015.5

 After over a year of litigation and appeals, the Flint Water Cases were consolidated in

 this Court on July 27, 2017.6 The Court appointed Theodore Leopold and Michael Pitt

 as Interim Co-Lead Class Counsel and Hunter Shkolnik and Corey Stern as Co-Liaison

 Counsel for the Individual Plaintiffs.7 In accordance with their Court-appointed roles,

 Class Counsel and Co-Liaison Counsel, alongside a Court-appointed Plaintiffs’


          5
              Compl., Mays v. Snyder, No. 5:15-cv-14002 (E.D. Mich. Nov. 13, 2015), ECF
 No. 1.
          6
         Order Granting in Part Waid Mot. for Consolidation & Appointment of Interim
 Co-Lead Class Counsel & Appointment of Liaison Counsel, July 27, 2017, ECF No.
 173.
       7
         Id. The Court renewed these appointments on December 7, 2018, December 20,
 2019, and November 2, 2020. ECF Nos. 696, 1021, 1306.

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 Executive Committee, have propelled this litigation forward, including through motions

 to dismiss, lengthy discovery, and several appeals. Discovery, which is ongoing, has

 been substantial, including millions of pages of document production and review, the

 exchange of substantive written interrogatories, more than eighty depositions, and

 extensive expert analysis and discovery. In addition, since January 2018, Class and Co-

 Liaison Counsel, with the help of experienced Court-appointed mediators and a Court-

 appointed Special Master, have spearheaded settlement negotiations with the

 Defendants. On August 26, 2019, at the request of Class Counsel, the Court also

 appointed experienced Settlement Subclass Counsel (“SSC”) to negotiate allocation.

 Order Granting Class Pls.’ Renewed Mot. in Part, ECF No. 929.

       After nearly four years of litigation, discovery, appeals, and settlement

 negotiations, Plaintiffs and the Settling Defendants8 executed the Amended Settlement




       8
        “Settling Defendants” refers to The State of Michigan, Michigan Department of
 Environmental Quality (now the Michigan Department of Environment, Great Lakes,
 and Energy), Michigan Department of Health and Human Services, Michigan
 Department of Treasury, former Governor Richard D. Snyder, Governor Gretchen
 Whitmer, the Flint Receivership Transition Advisory Board, Liane Shekter Smith,
 Daniel Wyant, Stephen Busch, Kevin Clinton, Patrick Cook, Linda Dykema, Michael
 Prysby, Bradley Wurfel, Eden Wells, Nick Lyon, Dennis Muchmore, Nancy Peeler,
 Robert Scott, Adam Rosenthal, Andy Dillon (“State Defendants”); the City of Flint,
 Darnell Earley, Howard Croft, Michael Glasgow, Gerald Ambrose, Edward Kurtz,
 Michael Brown, Dayne Walling, Daugherty Johnson (“City Defendants”); McLaren
 Health Care Corporation, McLaren Regional Medical Center, McLaren Flint Hospital,
 (“McLaren Defendants”); and Rowe Professional Services Company.


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 Agreement (the “Settlement” or “Settlement Agreement”) on November 16, 2020.9 On

 January 21, 2021 the Court approved the Settlement’s claims procedures and allocation,

 granted preliminary approval of the Class Settlement components, and approved the

 wrongful death settlement. Approval Order, ECF No. 1399. As the Court noted in its

 Order, id. at 14, PageID.54411, the Settlement provides that “Counsel for Individual

 Plaintiffs and Class Members shall be reimbursed and paid solely out of the FWC

 Qualified Settlement Fund for all expenses and fees, including but not limited to:

 attorneys’ fees; past, current, or future litigation and administration expenses (including,

 but not limited to, experts’, consultants’, and guardians ad litem fees and expenses); and

 the costs of providing the Settlement Class Notice and Individual Notice.” Settlement

 Agreement ¶ 11.1, PageID.54159. The Court directed counsel to make any motion for

 attorneys’ fees and expenses on or before February 26, 2021. Approval Order at 70,

 PageID.54467.

       The first bellwether trials of individual cases are scheduled to commence in or

 around October 2021. Co-Lead Class Counsel moved for class certification on June 30,

 2020; that briefing is ongoing. Resolution of the Motion for Class Certification, trial of



       9
        Decl. of Theodore J. Leopold in Supp. of Pls.’ Mot. (the “Preliminary Approval
 Motion”) to Establish Settlement Claims Procedures & Allocation & for Prelim.
 Approval of Class Settlement Components, Ex. A, Amended Settlement Agreement,
 Nov. 18, 2020, ECF No. 1319-1. An amended agreement was filed on January 15, 2021.
 Notice Regarding Pls.’ Mot. for Settlement Approval, Ex. A, Amended Settlement
 Agreement, ECF No. 1394-2.

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 the Individual Plaintiffs and any potential Class claims, and related appeals could require

 many years to fully resolve.

                                III.   THE FEE PROPOSAL

       Plaintiffs’ Fee Proposal is designed to provide reasonable and equitable

 compensation to Plaintiffs’ Counsel for the work they have performed, the risk and

 expenses they have shouldered in prosecuting these cases, and future work they will do

 in implementing the Settlement. The Proposal entails common benefit assessments for

 work performed for the benefit of all Plaintiffs, separate compensation for Co-Lead

 Class Counsel for their work on behalf of the Settlement Subclasses, and separate fees

 for non–common benefit work performed by individually retained counsel. All claims

 contribute an equal pro rata share to Plaintiffs’ Counsel’s fees, in the form of an upfront,

 global CBA of 6.33%, and additional fees are capped at 27% (less than the one-third

 maximum amount permitted under Michigan law, see Mich. Ct. R. 8.121). In other

 words, every Claimant who recovers from the Fund will effectively pay these same

 percentage attorneys’ fees, ensuring equal treatment of all Claimants. At the same time,

 all Claimants contribute to common benefit compensation in proportion to their reliance

 on common benefit work. Common benefit assessments are to be distributed to

 Plaintiffs’ Counsel in proportion to the firms’ contributions to common benefit work.

 The global CBA is to be paid beginning on final approval of the Settlement, whereas all

 other fees are paid only as and to the extent claims are paid out.

       The Proposal achieves these goals and this structure through the following

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 specific components:

       • To provide some upfront compensation to Plaintiffs’ Counsel who have
         contributed common benefit work thus far, the Proposal includes a CBA of
         6.33% of the Fund (the “global CBA”). This amounts to $40,591,125.00 of the
         $641.25 million Fund. This assessment is to be divided between Co-Lead
         Class Counsel and Co-Liaison Counsel and paid beginning on final approval
         of the Settlement and thereafter as the Fund is further funded pursuant to the
         terms of the Settlement.

       •    Co-Lead Class Counsel will receive an assessment of 27% of the gross value
           of (a) claims that are resolved through the Adult Exposure, Property Damage,
           and Business Economic Loss Subclasses (b) the Programmatic Relief Sub-
           Qualified Settlement Fund, plus (c) any claims involving a Minor who entered
           into a retainer agreement with Co-Lead Class Counsel and/or the Plaintiffs’
           Executive Committee prior to July 16, 2020. In effect, beyond their share of
           the 6.33% CBA, Co-Lead Class Counsel’s fees are also capped at 27%. These
           assessments compensate Co-Lead Class Counsel for the results they have
           achieved and risk and expense they have borne specifically on behalf of the
           Settlement Class and all Individual Plaintiffs who retained them before July
           16, 2020. Co-Lead Class Counsel will further distribute portions of the 27%
           assessments to the firms comprising the Plaintiffs’ Executive Committee,
           SSC, and other counsel who have worked on behalf of the Settlement
           Subclasses at Co-Lead Class Counsel’s direction to compensate them for their
           contributions to these cases.

       • Contingency fee retainer agreements for individually represented Claimants
         are capped at 27%. In other words, Individual Plaintiffs will pay a contingent
         fee of no more than 27% of any Monetary Award they receive. Contingency
         fee contracts entered into on or after July 16, 2020 are limited to a 10% fee, to
         reflect the reduced risk assumed by these counsel.

       • After July 16, 2020, any attorney who assists and advocates for a Minor in
         submitting a claim, whether retained or unretained, will receive a fee of 10%.

       • An additional CBA of 17% will apply to the gross award received by any
         Claimant who retained counsel on or after July 16, 2020, or by any Minor who
         was assisted by counsel on or after July 16, 2020. The 17% assessment
         applying to these claims reflects the fact that, under the Proposal, any
         contingency fee contracts entered into on or after July 16, 2020 are capped at
         10%, and that any attorney who assists and advocates for a Minor in submitting

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          a claim, whether retained or unretained, is entitled to the same 10% fee. If an
          unrepresented Minor does not retain and does not receive any assistance from
          an attorney, but submits a claim and receives an award, 27% of the gross value
          of the award will be assessed as CBA to ensure parity with other retained
          individuals and Settlement Class Members and reflect those Claimants’ greater
          reliance on common benefit work.

       • All CBA sums will be divided equally between Co-Lead Class Counsel and
         Co-Liaison Counsel, and will be further distributed among firms (including
         the Plaintiffs’ Executive Committee, SSC, and other counsel who have worked
         on behalf of the Settlement Subclasses at Co-Lead Class Counsel’s direction)
         contributing common benefit work under the supervision of Co-Lead Class
         Counsel and Co-Liaison Counsel for their respective common benefit
         contributions. Consistent with the Case Management Order Regarding Time
         and Expense Procedures (the “Time and Expense CMO”), ECF No. 507, only
         properly designated common benefit time approved by Co-Lead Class Counsel
         and Co-Liaison Counsel will be entitled to compensation. CBA sums will be
         divided between Co-Lead Class Counsel and Co-Liaison Counsel as follows:

          o equally (50/50) for the 6.33% Fund assessment;

          o equally (50/50) for the 17% of the gross award for claims awarded to
            Minors who retained counsel or were assisted by counsel on or after July
            16, 2020;

          o 75% to Co-Lead Class Counsel and 25% to Co-Liaison Counsel for the
            17% of the gross award for any Adult, Property Damage, Business
            Economic, or Programmatic Relief awards to Claimants retained by
            counsel on or after July 16, 2020; and

          o equally (50/50) for the 27% of the gross award received by unrepresented
            Minors who do not retain and do not receive any assistance from an
            attorney.

                                 IV.    ARGUMENT

    A. The Court Should Approve Plaintiffs’ Fee Proposal

       Plaintiffs’ Fee Proposal is fair, reasonable, and consistent with the law. It is

 designed to provide reasonable compensation to Plaintiffs’ Counsel for common benefit



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 work, work benefitting the Settlement Subclasses, and non–common benefit work by

 individually retained counsel. Long-standing precedent recognizes that in common fund

 cases counsel are entitled to compensation for common benefit work. The Proposal is

 appropriately and fairly structured so that all Claimants contribute an equal pro rata

 share to Plaintiffs’ Counsel’s fees while funding common benefit awards in proportion

 to reliance on common benefit work. The Proposal allows Plaintiffs’ Counsel who have

 taken the lead in litigating these cases and settling against this subset of Defendants to

 receive some compensation for their common benefit work upon final approval of the

 Settlement and capitalization of the Fund, while deferring all other attorneys’ fees until

 claims are actually paid out.

       Moreover, the amounts requested under the Proposal are reasonable under the

 factors courts weigh in determining fee awards. The percentage amounts contemplated

 by the Proposal are consistent with the awards approved in similar complex litigation.

 Plaintiffs’ Counsel’s efforts have produced an excellent result for victims of the Flint

 Water Crisis in the form of the $641.25 million Settlement, with the potential for

 additional recovery from the Non-Settling Defendants. Plaintiffs’ Counsel also took on

 considerable risk in litigating these complex cases on a contingent basis. Plaintiffs’

 Counsel have invested 182,571 hours of work into this litigation, representing more than

 $84 million of lodestar at current rates, and have advanced more than $7 million in

 expenses, without any compensation to date. Finally, the Proposal is supported by the



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 public policy of encouraging counsel to take on important cases like these on a

 contingent basis, which otherwise might not be undertaken.

       1. The Proposed Common Benefit Assessments Are Appropriate

       Plaintiffs’ Fee Proposal contemplates distinct fees for common benefit work,

 work benefitting the Settlement Subclasses, and work only benefitting an individual

 client’s claims. The common benefit work includes work performed by Co-Lead Class

 Counsel and Co-Liaison Counsel.

       It is well established that counsel who perform common benefit work resulting in

 recovery of a common fund are entitled to compensation for those services from the

 fund. As the Supreme Court has explained in Boeing Co. v. Van Gemert, 444 U.S. 472,

 478 (1980):

        [T]his Court has recognized consistently that a litigant or lawyer who
        recovers a common fund for the benefit of persons other than himself or
        his client is entitled to a reasonable attorney’s fee from the fund as a whole.
        . . . The doctrine rests on the perception that persons who obtain the
        benefit of a lawsuit without contributing to its cost are unjustly enriched
        at the successful litigant’s expense. Jurisdiction over the fund involved in
        the litigation allows a court to prevent . . . inequity by assessing attorney’s
        fees against the entire fund, thus spreading fees proportionately among
        those benefitted by the suit.

 The common benefit doctrine was established by the Supreme Court over 125 years ago

 and is merely an application of a district court’s “original authority . . . to do equity in a

 particular situation.”10 The rationale for applying the common benefit doctrine in this


       10
            Sprague v. Ticonic Nat’l Bank, 307 U.S. 161, 166 (1939) (Frankfurter, J.); see


                                              11
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 type of case is compelling:

        “[W]hen a court consolidates a large number of cases, stony adherence to
        the American rule [in which each litigant pays his or her own attorneys’
        fees] invites a serious free-rider problem. . . . If a court hews woodenly to
        the American rule under such circumstances, each attorney, rather than
        toiling for the common good and bearing the cost alone, will have an
        incentive to rely on others to do the needed work, letting those others bear
        all the costs of attaining the parties’ congruent goals.” . . . Therefore, a
        court supervising mass tort litigation is allowed to “intervene to prevent
        or minimize an incipient free-rider problem” and may use “measures
        reasonably calculated to avoid unjust enrichment of persons who benefit
        from a lawsuit without shouldering its costs.”11

       Consistent with this precedent, “[t]he Sixth Circuit has held that in common fund

 cases, ‘a court must make sure that counsel is fairly compensated for the amount of work

 done as well as for the results achieved.’”12 This rule applies to class actions but also to

 non-class actions in which counsel secure a benefit shared by persons beyond counsel’s

 immediate clients.13 The principle that counsel are compensated for common benefit



 also Cent. R.R. & Banking Co. v. Pettus, 113 U.S. 116, 123 (1885); Internal Imp. Fund
 Trs. v. Greenough, 105 U.S. 527, 532-33 (1881).
       11
         In re Guidant Corp. Implantable Defibrillators Prods. Liab. Litig., No. MDL
 05-1708 (DWF/AJB), 2008 WL 682174, at *4 (D. Minn. Mar. 7, 2008) (quoting In re
 Nineteen Appeals Arising out of the San Juan Dupont Plaza Hotel Fire Litig., 982 F.2d
 603, 606 (1st Cir. 1992)), amended in part, No. MDL 05-1708 (DWF/AJB), 2008 WL
 3896006 (D. Minn. Aug. 21, 2008).
       12
          N.Y. State Tchrs.’ Ret. Sys. v. Gen. Motors Co., 315 F.R.D. 226, 242 (E.D.
 Mich. 2016) (quoting Rawlings v. Prudential-Bache Props., Inc., 9 F.3d 513, 516 (6th
 Cir. 1993)), aff’d, Marro v. N.Y. Tchrs.’ Ret. Sys., No. 16-1821, 2017 WL 6398014 (6th
 Cir. Nov. 27, 2017).
       13
          See, e.g., Sprague, 307 U.S. at 166-67 (“Whether one professes to sue
 representatively or formally makes a fund available for others may, of course, be a


                                             12
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 services is so widely accepted that courts handling this type of complex litigation often

 approve common benefit assessments even before any recovery has been achieved.14



 relevant circumstance in making the fund liable for his costs in producing it. But when
 such a fund is for all practical purposes created for the benefit of others, the formalities
 of the litigation — [including] the absence of an avowed class suit . . . — hardly touch
 the power of equity in doing justice as between a party and the beneficiaries of his
 litigation.”); Walitalo v. Iacocca, 968 F.2d 741, 747 (8th Cir. 1992) (“It is well
 established that courts can impose liability for court-appointed counsel’s fees on all
 plaintiffs benefitting from their services.”); In re Vioxx Prods. Liab. Litig., 760 F. Supp.
 2d 640, 647 (E.D. La. 2010) (“[T]he common fund doctrine is not limited solely to class
 actions. . . . As class actions morph into multidistrict litigation, . . . the common benefit
 concept has migrated into the latter area. The theoretical bases for the application of this
 concept to MDLs are the same as for class actions, namely equity and her blood brother,
 quantum meruit.”); Federal Judicial Center, Awarding Attorneys’ Fees and Managing
 Fee Litigation at 68 (3d ed. 2015) (“[T]he common fund doctrine is not limited to class
 actions . . . .”); David F. Herr, Annotated Manual for Complex Litigation § 14.11 (4th
 ed. 2020) (“If attorneys’ efforts create or preserve a fund or benefit for others in addition
 to their own clients, the court is empowered to award fees from the fund. . . . The award
 may be made from recoveries obtained by settlement or by trial. Common-fund cases
 are predominantly, but not exclusively, class actions . . . . A variant on the traditional
 common-fund case occurs frequently in mass tort litigation—in both class actions and
 large consolidations—where a separate fund to pay attorney fees is created as a part of
 a settlement. The court must distribute the fund among the various plaintiffs’ attorneys,
 which may include class counsel, court-designated lead and liaison counsel, and
 individual plaintiff’s counsel.”).
       14
           See, e.g., In re Air Crash Disaster at Fla. Everglades on Dec. 29, 1972, 549
 F.2d 1006, 1011-16 (5th Cir. 1977) (observing that “[i]f lead counsel are to be an
 effective tool the court must have means at its disposal to order appropriate
 compensation for them” and where attorneys perform “duties beyond their
 responsibilities to their own clients,” an assessment of prospective recoveries is “a
 necessary incident to achievement of the goals of multidistrict litigation”); Smiley v.
 Sincoff, 958 F.2d 498 (2d Cir. 1992) (court had authority to assess fees on all counsel in
 consolidated cases for work performed by committee appointed to coordinate all aspects
 of litigation); In re MGM Grand Hotel Fire Litig., 660 F. Supp. 522, 525-29 (D. Nev.
 1987).


                                              13
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       Here, by consolidating these cases and appointing Interim Co-Lead Class Counsel

 and its Executive Committee, Interim Co-Liaison Counsel, and Settlement Subclass

 Counsel, the Court directed these firms to take leadership roles in this litigation on behalf

 of all Plaintiffs.15 For example, the Court ordered Co-Lead Class Counsel and Co-

 Liaison Counsel to “coordinate” and “conduct” all discovery “on behalf of and for the

 benefit of the putative class or individual actions,” to “act as spokesperson for all

 plaintiffs” at all hearings, to negotiate with Defendants, to have exclusive authority to

 pursue settlement with the Defendants, to keep other Plaintiffs’ counsel advised of the

 progress of the litigation.16

       Moreover, the Time and Expense CMO, which sets forth certain standards and

 procedures for counsel seeking a common benefit award, reflects that Plaintiffs, their

 counsel, and the Court contemplated that common benefit work by Plaintiffs’ Counsel

 could be entitled to compensation in the form of a common benefit award.17 The Order


       15
          See, e.g., Order, July 27, 2017, ECF No. 173 (consolidating cases and
 appointing Interim Co-Lead Class Counsel and Co-Liaison Counsel); Order Delineating
 the Duties of Interim Co-Lead Class Counsel & Co-Liaison Counsel for the Individual
 Actions & Creating a Pls.’ Executive Committee for the Proposed Class (“Order
 Delineating Duties”), Oct. 26, 2017, ECF No. 234.
       16
            Order Delineating Duties ¶ 1, PageID.8722-8726.
       17
          ECF No. 507. Among other things, the order stated that the “Court reserves
 decision on whether certain work performed by various plaintiffs’ counsel in the Flint
 Water Cases may inure to the common benefit of the litigation as a whole, or to specific
 portions of the litigation. The Court further reserves judgment as to whether any time
 recorded, or expenses incurred, shall be recognized as common benefit time or expense
 and will address whether to assess a surcharge on any monetary settlements in Flint


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 specifically assigned to Co-Lead Class Counsel and Co-Liaison Counsel responsibility

 for coordinating and approving common benefit work by other Plaintiffs’ Counsel.18

 Under the order, “[o]nly time spent on matters common to all plaintiffs in the Flint Water

 Cases (“Common Benefit Time”) will be considered in determining fees. No time spent

 on developing or processing any case for an individual client/Claimant will be

 considered except as approved by Co-Lead Class Counsel or Co-Liaison Counsel as

 work that serves a common benefit.”19

       In their leadership roles, Plaintiffs’ Counsel have performed a tremendous amount

 of work, and have taken on sizeable expenses and risk, to litigate these consolidated

 cases and to achieve this Settlement, which benefits all Plaintiffs. As detailed in the

 declarations submitted by Plaintiffs’ Counsel in support of this Motion, and as described

 more fully below, infra § IV.A.4.iv, Plaintiffs’ Counsel have performed a total of

 182,571 hours of common benefit work through February 15, 2021, representing a

 lodestar of more than $84 million. This work includes:

       • Investigating, researching, and drafting multiple consolidated complaints;

       • Researching and drafting briefing for the numerous dispositive motions made
         by Defendants, including motions to dismiss and related motions for
         reconsideration;

       • Formulation of strategy and drafting of briefing relating to the multiple appeals

 Water cases, or any portion of such cases, at a future point in time.” Id. ¶ 34,
 PageID.15842.
       18
            Id. ¶¶ 5-6, 12-13, PageID.15827, 15829-15830.
       19
            Id. ¶ 12, PageID.15829.

                                            15
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            that have taken place in the litigation, including concerning Defendants’
            qualified immunity defenses;

       • Extensive discovery work, including drafting discovery requests and
         responses and briefing for discovery-related motions and review of millions of
         pages of documents produced by Defendants and third parties, preparing for
         and participating in Court conferences regarding discovery disputes, taking
         and defending more than 80 depositions, conducting extensive expert
         consultant and witness analysis and discovery; and

       • Extensive, multi-year mediation and settlement negotiations involving dozens
         of in-person meetings and multiple one-on-one sessions with the Mediators
         and/or Special Master.


 In addition, Plaintiffs’ Counsel will continue to perform substantial common benefit

 work in administering the Settlement.

       Plaintiffs’ Counsel who performed this work and bore the associated risk are

 therefore entitled to reasonable compensation for these services from the common

 settlement fund they successfully negotiated.20 The Proposal accomplishes that through


       20
          See, e.g., In re NuvaRing Prods. Liab. Litig., No. 4:08 MDL 1964 RWS, 2014
 WL 7271959, at *1 (E.D. Mo. Dec. 18, 2014) (“[U]ntil a Master Settlement Agreement
 was reached . . . a number of attorneys performed an extraordinary amount of work and
 advanced substantial expenses which benefited all plaintiffs and claimants who asserted
 NuvaRing related injuries against the defendants. These ‘common benefit attorneys’
 should and must be compensated for their efforts.”); In re MGM Grand Hotel Fire, 660
 F. Supp. at 528 (“For the contingency factor the court must focus on the [Plaintiffs’
 Legal Committee]’s legal and financial risk in undertaking this case. The PLC risked
 nonpayment if the case was lost . . . . If the case is a difficult one or is strongly opposed
 by defense counsel, the risks are obviously higher, especially when opposing counsel
 are extremely able as was the case here. Also, if, as in this case, the litigation is lengthy
 and complex, counsel suffers the risk of nonpayment over a longer period of time. The
 risk, thus, includes the scope of the PLC’s professional burden as viewed at the outset,
 the number of hours expended without guarantee of payment, and the delay in receipt of


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 reasonable CBAs that are fairly allocated according to the extent of a particular

 Claimant’s reliance on common benefit work.

       In recognition of the fact that all Plaintiffs have substantially benefitted from

 common benefit work by Plaintiffs’ Counsel, all Plaintiffs effectively contribute at least

 some to the CBA award, in the form of a 6.33% assessment. In addition, Claimants

 outside the Settlement Subclasses who retained counsel, or Minors who are assisted by

 counsel, on or after July 16, 2020 are assessed an additional CBA in the amount of 17%

 of their gross award (while their individual counsel’s fees, or in the case of Co-Lead

 Class Counsel assisting Minors filing claims, are capped at 10% of the gross award).

 This is in recognition of their increased reliance on common benefit work—and the

 correspondingly reduced risk assumed by their IRC, who were retained relatively late—

 compared to similarly situated Plaintiffs who retained IRC before that.

       Finally, Minors who receive no assistance from counsel are assessed a CBA in

 the amount of 27% of their gross award, reflecting that no IRC contributed to the benefit

 they received, which is entirely common benefit. (Meanwhile, Claimants in the

 Settlement Subclasses are assessed a fee awarded to Co-Lead Class Counsel, a type of

 fee traditionally characterized as a “common fund” award rather than a CBA. See infra



 payment.”).




                                            17
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 § IV.A.2.) Through this structure, all Plaintiffs pay the same pro rata share in total

 attorneys’ fees, while the attorneys’ fees are distributed equitably among counsel in

 proportion to their contributions to litigating these cases.21

       In conjunction with awarding the CBAs, the Court also has the authority to cap

 the fees of individually retained attorneys as contemplated by the Proposal. “In MDLs

 and class actions, ‘district courts have routinely capped attorneys’ fees . . . .’”22 Capping


       21
          Courts recognize that assessing the distribution of common benefit in complex
 mass tort litigation involves some degree of approximation. See, e.g., In re Nineteen
 Appeals Arising Out of the San Juan Dupont Plaza Hotel Fire Litig., 982 F.2d at 610
 (“[W]hile the extent to which each individual plaintiff and each IRPA benefitted from
 the PSC’s efforts cannot be quantified with mathematical precision, it is possible to
 study the PSC’s contribution to the overall success of the litigation and approximate the
 incremental benefits with some accuracy.”).
       22
           In re Nat’l Football League Players’ Concussion Inj. Litig., No. 2:12-MD-
 02323-AB, 2018 WL 1658808, at *2 (E.D. Pa. Apr. 5, 2018) (quoting In re World Trade
 Ctr. Disaster Site Litig., 754 F.3d 114, 126 (2d Cir. 2014)); see also In re Oil Spill by
 Oil Rig “Deepwater Horizon”, No. MDL 2179, 2012 WL 2236737, at *1-3 (E.D. La.
 June 15, 2012) (order setting cap on individual attorneys’ fees in MDL involving class
 action settlements); In re Vioxx Prods. Liab. Litig., 650 F. Supp. 2d 549, 563-65 (capping
 IRC contingent fees, which were also to fund CBAs, at 32% and observing, “To ensure
 a consistent and fair result for all plaintiffs, the fee agreements must be reexamined in
 light of the economies of scale and other efficiencies afforded by consolidation”); In re
 Zyprexa Prods. Liab. Litig., 424 F. Supp. 2d 488, 491, 496-97 (E.D.N.Y. 2006)
 (generally capping contingent fees at 35%, with common benefit fees for plaintiffs’
 steering committee to be assessed separately against common fund); David F. Herr,
 Annotated Manual for Complex Litigation § 22.927 (4th ed. 2020) (“The judge can
 protect members of the class from excessive fees by limiting the amount of contingent
 fees awarded for pursuing individual claims in a common-fund settlement. If there is a
 combination of individual settlements and a class-wide settlement, the judge sometimes
 orders individual plaintiffs’ lawyers to pay a certain percentage of the fees they received
 into a common fund to contribute to the fees of the class counsel, whose work in
 discovery and trial preparation contributed to the settlement of the individual cases as


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 the fees of IRC is appropriate where, as here, they have benefitted from common benefit

 work performed by various Plaintiffs’ Counsel, and to ensure that no Plaintiff pays twice

 for the same work and results.23

        Finally, the amounts of the CBAs contemplated by the Proposal are reasonable

 and justified. As noted above, Co-Lead counsel in these consolidated cases have taken

 on the majority of the expense, risk, and burden in litigating these cases to the benefit of

 all Plaintiffs. Their common benefit lodestar to date measures more than $84 million. It

 is therefore appropriate to award them the 6.33% global CBA, amounting to

 $40,591,125.00,24 while capping all other attorneys’ fees (including those of IRC) at

 27%.

        It is also appropriate to award Co-Lead Class Counsel and Co-Liaison Counsel

 the further CBAs applying to the claims of those who retained IRC only after July 16,

 2020 and those who have relied entirely on common benefit. Plaintiffs with IRC retained




 well.”).
        23
          See, e.g., Concussion Inj. Litig., 2018 WL 1658808, at *2; In re Zyprexa, 424
 F. Supp. 2d at 493 (“[T]hese firms all benefitted from the effectiveness of coordinated
 discovery carried out in conjunction with the plaintiffs’ steering committee and from
 other economies of scale, suggesting a need for reconsideration of fee arrangements that
 may have been fair when the individual litigations were commenced.”); Walitalo, 968
 F.2d at 749 (acknowledging that class counsel reduced the amount of work required of
 individual counsel and directing “the district court to review the plaintiffs’ fee
 arrangements with their individual counsel for reasonableness in light of their decreased
 responsibilities and the fee award to [class] counsel”).
        24
             The 6.33% global CBA leaves $600,658,875.00 in the Fund for distribution.

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 after that date pay a CBA of 17% of their gross award, leaving 10% of their gross award

 for their IRC. Thus, IRC for these Claimants will still receive 37% (10% divided by

 27%) of the attorneys’ fees applicable to these Claimants’ awards (setting aside the

 6.33% global CBA). That is eminently fair compensation for IRC who were retained

 relatively late and who have thereby assumed comparatively little risk. This CBA

 structure is consistent with what courts have approved in comparable mass tort cases,

 including those involving both class and individual actions, where CBAs have

 commonly been assessed as a percentage of the recovery with capped fees for IRC.25

 See also infra § IV.A.4 (discussing appropriateness of overall fee amounts).

       Accordingly, the CBAs provided by the Proposal are reasonable and appropriate.

       2. Co-Lead Class Counsel Should Be Awarded Fees from the Settlement
          Subclass Funds and the Programmatic Relief Sub-Qualified Settlement
          Fund

       The Class Settlement that is part of the broader Settlement here is a classic




       25
         See, e.g., In re Bayou Sorrel Class Action, No. 6:04CV1101, 2006 WL 3230771,
 at *6 (W.D. La. Oct. 31, 2006) (setting fees at “36% for all plaintiff’s attorneys, 50% of
 which is to be distributed to the PSC for the common benefit work and 50% to the
 various private attorneys representing individual plaintiffs,” yielding 18% IRC rate); In
 re Guidant, 2008 WL 3896006, at *8-9 (adjusting overall fee cap to 37.18% and
 adopting complex formula effectively setting IRC fees at about 22.18% of gross
 recovery, with 15% of gross recovery allocated toward common benefit fees and costs);
 Concussion Inj. Litig., 2018 WL 1658808, at *3 (awarding Class Counsel 11% and IRC
 22% of recovery); In re NuvaRing, 2014 WL 7271959, at *4 (awarding 11% of
 settlement fund to common benefit attorneys for attorneys’ fees and 4.5% of fund for
 common benefit expenses).


                                            20
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 example of a common fund case, “where named Plaintiffs have created a common fund

 by securing a recovery for themselves and the class they represent.”26 The principle that

 “in common fund cases, ‘a court must make sure that counsel is fairly compensated for

 the amount of work done as well as for the results achieved” is axiomatic to class

 actions.27

       Here, 20.5% of the Qualified Settlement Fund, or $131,456,250.00, will be

 allocated to Settlement Subclasses and Programmatic Relief.28 Under the Proposal, 27%

 of the gross value of the claims resolved through the Subclasses plus 27% of the value

 of the Programmatic Relief Fund is to be allocated as fees for Class Counsel (including

 the Plaintiffs’ Executive Committee, Subclass Counsel, and other firms working under

 the supervision of Co-Lead Class Counsel) (“Class Counsel Fees”). Claims resolved

 through the Subclasses do not include the claims of Individual Plaintiffs or other

 individual Claimants with IRC.29 Hypothetically, if all Settlement Subclass funds were



       26
           N.Y. State Tchrs.’ Ret. Sys., 315 F.R.D. at 242 (quoting In re DPL Inc., Sec.
 Litig., 307 F. Supp. 2d 947, 949 (S.D. Ohio 2004)).
       27
            Id. (quoting Rawlings, 9 F.3d at 516).
       28
        Settlement Agreement ¶ 5.2, PageID.54146. Any excess funds remaining in the
 Adults and Property Damage Sub-Qualified Settlement Fund and the Business
 Economic Loss Sub-Qualified Settlement Fund will be redistributed to the Minor Child,
 Minor Adolescent, and Minor Teen Settlement Categories. Id. ¶ 5.5, PageID.54147.
       29
          The attorneys’ fees for individually represented Adults, property owners, and
 businesses retained before July 16, 2020 will equal 27% of the claim and be paid to
 retained counsel. For those Adults, property owners, and businesses who retain counsel
 after July 16, 2020, retained counsel’s fees will be capped at 10% and Co-Lead Class


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 distributed via claims resolved through the Settlement Subclasses, Class Counsel Fees

 would amount to $35,493,187.50. The fees Class Counsel will receive from the class

 portion of the settlement will be less than this amount, however, because Settlement

 Subclass funds will also be distributed to Individual Plaintiffs or other individual

 Claimants with IRC.

         These assessments compensate Co-Lead Class Counsel for the results they have

 achieved and risk and expense they have borne specifically on behalf of the Settlement

 Class. As discussed below, infra § IV.A.5, Class Counsel Fees in this range are

 reasonable.

         3. The Court Should Award Attorney Fees Using the Percentage-of-the-
            Fund Approach

         Courts generally approve of awarding fees from a common fund based on the

 percentage-of-the-fund method.30 “The Sixth Circuit has observed a ‘trend[] towards

 adoption of a percentage of the fund method in [common fund] cases.”31 This trend holds

 true for courts in this District, which regularly utilize the percentage-of-the-fund


 Counsel will receive an additional CBA of 12.75% of the claim and Co-Liaison Counsel
 will receive an additional CBA of 4.25%.
         30
          See, e.g., Blum v. Stenson, 465 U.S. 886, 900 n.16 (1984) (stating that in
 common fund cases “a reasonable fee is based on a percentage of the fund bestowed on
 the class”); Camden I Condo. Ass’n, Inc. v. Dunkle, 946 F.2d 768, 773 (11th Cir. 1991)
 (“Indeed, every Supreme Court case addressing the computation of a common fund fee
 award has determined such fees on a percentage of the fund basis.”).
         31
              N.Y. State Tchrs.’ Ret. Sys., 315 F.R.D. at 243 (quoting Rawlings, 9 F.3d at
 515).


                                              22
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 approach in common fund cases.32 A percentage-of-the-fund approach fosters judicial

 economy by eliminating a detailed, cumbersome, and time-consuming lodestar

 analysis.33 Compared to the lodestar method, the percentage-of-the-fund approach is

 “easy to calculate” and “establishes reasonable expectations on the part of plaintiffs’

 attorneys as to their expected recovery.”34

       Here, Plaintiffs’ Counsel’s efforts have resulted in the creation of a common

 Qualified Settlement Fund of $641.25 million. The attorneys’ fees contemplated under

 the Proposal are all calculated as a percentage of either collective funds recovered or,

 what is functionally similar in the aggregate, individual recoveries from these funds. The

 6.33% global CBA is a straightforward percentage-of-the-fund fee, as is the 27%

 assessment of the value of the Programmatic Relief Fund, to be allocated to Class

 Counsel. All other fees are calculated as percentages of individual recoveries from




       32
          See, e.g., id.; In re Packaged Ice Antitrust Litig., No. 08-MDL-01952, 2011 WL
 6209188, at *17 (E.D. Mich. Dec. 13, 2011) (noting that the Sixth Circuit has recognized
 “a number of advantages” of the percentage of the fund method (quoting Rawlings, 9
 F.3d at 516)); In re Delphi Corp. Secs., Derivative & “ERISA” Litig., 248 F.R.D. 483,
 502-03 (E.D. Mich. 2008); In re Cardizem CD Antitrust Litig., 218 F.R.D. 508, 531-32
 (E.D. Mich. 2003).
       33
           Rawlings, 9 F.3d at 516-17; N.Y. State Tchrs.’ Ret. Sys., 315 F.R.D. at 243;
 Stanley v. U.S. Steel Co., No. 04-74654, 2009 WL 4646647, at *1 (E.D. Mich. Dec. 8,
 2009) (“Use of the percentage method also decreases the burden imposed on the Court
 by eliminating a full-blown, detailed and time consuming lodestar analysis while
 assuring that the beneficiaries do not experience undue delay in receiving their share of
 the settlement.”); In re Cardizem CD, 218 F.R.D. at 532.
       34
            Rawlings, 9 F.3d at 516.

                                               23
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 various Sub-Qualified Settlement Funds. As described above, beyond the 6.33% global

 CBA, all claims are subject to the same maximum 27% total fee assessment, which is

 allocated to Co-Lead Class Counsel, Co-Liaison Counsel, and/or IRC in various ways

 depending on their roles in relation to the claim. Seen another way, beyond the 6.33%

 global CBA, the Sub-Qualified Settlement Funds from which these Claimants will

 recover are all effectively subject to an aggregate maximum 27% fee assessment. With

 respect to the common fund specifically available to Settlement Subclass Members,

 Class Counsel will receive 27% of the gross claims resolved through these Subclasses—

 except for Claimants individually represented by Co-Liaison Counsel or other IRC, who

 will pay a portion of the 27% to Co-Liaison Counsel or their other IRC, as applicable.

       Thus, the Proposal uses a combination of classic percentage-of-the-fund fees and

 functionally similar percentage-of-individual-recovery fees or fee caps to establish an

 equitable system of attorney compensation that eliminates the need for a “full-blown

 detailed and time consuming lodestar analysis.”35 Such an analysis would be particularly

 complex, burdensome, and time-consuming here given the many firms representing both

 Class and Individual Plaintiffs in these cases, and the volume of Individual Plaintiffs

 and their counsel. Adopting the Proposal’s percentage-based approach will also help

 meet Plaintiffs’ Counsel’s “reasonable expectations . . . as to their expected recovery”



       35
            Stanley, 2009 WL 4646647, at *1.


                                           24
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 here.36 The percentages requested here represent a reasonable fee structure to which Co-

 Lead Class Counsel and Co-Liaison Counsel agreed ex ante with each other with the

 goal of arriving at an equitable allocation for both Claimants and counsel. This

 agreement and the expectations it formed were instrumental in facilitating their efficient

 cooperation on this complex litigation.

       4. The Fee Proposal Is Appropriate When Compared to Other Percentage
          of the Fund Awards

       An “award of attorneys’ fees in common fund cases need only be ‘reasonable

 under the circumstances.’”37 The court “must provide a clear statement of the reasoning

 used in adopting a particular methodology and the factors considered in arriving at the

 fee.”38 An appropriate fee is intended to approximate what counsel would receive if they

 were bargaining for their services in the marketplace.39

       The Proposal’s combined fees and their structure are in line with the fee amounts

 and structures approved by courts in comparable mass tort litigation. In such cases,

 courts have commonly approved the same general approach used here, where certain

 percentages of the recovery are assessed as common benefit fees while fees for




       36
            Rawlings, 9 F.3d at 516.
       37
          Bowling v. Pfizer, Inc., 102 F.3d 777, 779 (6th Cir. 1996) (quoting Rawlings, 9
 F.3d at 516).
       38
            Rawlings, 9 F.3d at 516.
       39
            Missouri v. Jenkins ex rel. Agyei, 491 U.S. 274, 285 (1989).


                                             25
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 individually retained counsel are capped at defined percentages, resulting in overall fees

 typically in the range of 32% to 35%.40 Here, the 6.33% global CBA and additional fees

 capped at 27% of the remaining funds amount to a total maximum fee percentage of

 31.6%, less than the typical fee in comparable cases and the one-third maximum amount

 permitted under Michigan law, see Mich. Ct. R. 8.121.41

       Moreover, except for the 6.33% global CBA and the CBA applicable to the

 Programmatic Relief Sub-Qualified Settlement Fund, fees under the Proposal are to be

 distributed only as and to the extent that claims are successfully paid out. This, and the

 fact that Settling Defendants have rights to rescind the Settlement if participation does

 not reach certain thresholds,42 further ensure Plaintiffs’ Counsel will not receive a

 windfall and incentivize them to maximize actual recoveries by Claimants.

       Finally, the 27% assessment Co-Lead Class Counsel request from the Settlement

 Subclass Funds and the Programmatic Relief Sub-Qualified Settlement Fund is




       40
          See supra § IV.A.1, n.22; In re Zyprexa, 424 F. Supp. 2d at 491, 496-97
 (generally capping contingent fees at 35%, with common benefit fees for plaintiffs’
 steering committee to be assessed separately against common fund); In re MGM Grand
 Hotel Fire, 660 F. Supp. at 524-25, 529 (instituting 33.33% overall cap, granting 7% in
 fees to steering committee and also requiring IRC to pay 1.5% in common benefit
 expenses).
       41
          This is because the 27% amounts are assessed against only funds that remain
 after the 6.33% global CBA. In other words, to calculate the total maximum fee
 percentage here, we take 6.33% and add 27% of 93.67%.
       42
            ASA Art. XVIII, § 19.3, PageID.54181-54183.


                                            26
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 consistent with fee awards to class counsel in other class actions in this Circuit.43

       5. The Relevant Factors Justify the Fee Proposal

       A court is tasked with ensuring that counsel are fairly compensated for the work

 performed and the result achieved.44

       Courts in the Sixth Circuit evaluate the reasonableness of a requested fee
       percentage award using six factors: (1) the value of the benefit rendered to the
       plaintiff class; (2) the value of the services on an hourly basis; (3) whether the
       services were undertaken on a contingent fee basis; (4) society’s stake in
       rewarding attorneys who produce such benefits in order to maintain an
       incentive to others; (5) the complexity of the litigation; and (6) the
       professional skill and standing of counsel involved on both sides.45
       Under these factors, the Fee Proposal is fair, reasonable, and justified.

            i. The Value of the Benefit Achieved

       Courts have consistently recognized that the result achieved is a major factor to

 be considered in making a fee award.46 The $641.25 million Qualified Settlement

 Fund—part of a settlement that is the result of more than two years of Court-supervised



       43
           See, e.g., In re Packaged Ice, 2011 WL 6209188, at *19 (“[T]he requested
 award of close to 30% appears to be a fairly well-accepted ratio . . . generally in complex
 class actions.”); In re Cardizem, 218 F.R.D. at 532 (collecting cases and noting “20–
 30% range of reasonable attorneys’ fees generally awarded in this Circuit”).
       44
            Rawlings, 9 F.3d at 516.
       45
         In re Cardizem CD, 218 F.R.D. at 533 (citing Bowling, 102 F.3d at 780); Smillie
 v. Park Chem. Co., 710 F.2d 271, 275 (6th Cir. 1983).
       46
           Hensley v. Eckerhart, 461 U.S. 424, 436 (1983) (noting that the “most critical
 factor is the degree of success obtained”); Rawlings, 9 F.3d at 516 (percentage of the
 fund method is well suited to compensate counsel for the result achieved); Smillie v.
 Park Chem. Co., 710 F.2d 271, 275 (6th Cir. 1983).


                                             27
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 negotiations—is an excellent result for victims of the Flint Water Crisis against the

 Settling Defendants. The Settlement will provide certain compensation without further

 delay and avoid the risks associated with litigating to completion against these

 Defendants.47 Moreover, the Settlement leaves open the possibility for additional

 recovery from the Non-Settling Defendants.

            ii. Risks of Litigation and Contingent Nature of the Fee

       A determination of a fair fee must include consideration of the contingent nature

 of the fee and the risk that counsel assumed.48 Here, Plaintiffs’ Counsel have vigorously

 prosecuted these cases for more than four years on a wholly contingent basis. Contingent

 fee cases sometimes result in no compensation whatsoever for plaintiffs’ counsel, even

 after the expenditure of thousands of hours of work. That can happen for any number of

 reasons in complex cases like these, including the discovery of facts unknown when the

 case is commenced, changes in the law during the pendency of the case, or a decision of



       47
          As noted in Plaintiffs’ preliminary approval brief, the Settling Defendants are
 represented by experienced counsel, and undoubtedly would continue to deny Plaintiffs’
 allegations, contest liability, and appeal any result adverse to them. Moreover, because
 many of the individual Settling Defendants are entitled to invoke qualified immunity
 defenses, they could further delay litigation with interlocutory appeals of an unfavorable
 summary judgment opinion.
       48
           See, e.g., In re Cardizem CD, 218 F.R.D. at 533 (“Plaintiffs’ Counsel undertook
 representation of the Class on a contingent fee basis, thus bearing the risk of recovery
 inherent in litigation, and expended millions of dollars in attorney time and expenses in
 their prosecution of this litigation over the past five years. Plaintiffs’ Counsel also faced
 the substantial legal talent and financial resources of Defendants, which increased the
 risk of litigating this action.”).

                                              28
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 a judge or jury following a trial on the merits. Even plaintiffs who prevail at trial may

 find their judgment overturned on appeal.

       Plaintiffs’ Counsel have assumed considerable risk in taking on and investing

 substantial resources into these cases with no guarantee of recovery. This case has

 entailed extensive discovery and lengthy motion practice and appeals. The Settling

 Defendants are represented by experienced counsel, and absent the Settlement would

 undoubtedly continue to deny Plaintiffs’ allegations, contest liability, and appeal any

 contrary result. Moreover, because many of the individual Settling Defendants are

 entitled to invoke qualified immunity defenses, they could further delay litigation with

 interlocutory appeals of an unfavorable summary judgment opinion. In addition to

 counsel’s own substantial lodestar (detailed below), Plaintiffs’ Counsel’s investments

 have included costly expert consultation and other expenses, all borne by Plaintiffs’

 Counsel with no guarantee of recoupment. Given the contingent fee arrangements and

 significant risks assumed, the Fee Proposal is reasonable.

            iii. Public Policy Considerations

       Courts recognize that public policy supports rewarding plaintiffs’ counsel who

 take on challenging cases like these on a contingent basis on behalf of plaintiffs who

 might otherwise not be able to prosecute them.49 Plaintiffs in complex mass tort


       49
          See, e.g., In re Cardizem CD, 218 F.R.D. at 534 (“Encouraging qualified
 counsel to bring inherently difficult and risky but beneficial class actions like this case
 benefits society.”); Ramey v. Cincinnati Enquirer, Inc., 508 F.2d 1188, 1196 (6th Cir.


                                             29
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 litigation such as this are often represented by counsel who are retained on a contingent

 basis, largely due to the significant commitment of time and expense required in

 comparison to the plaintiffs’ financial resources. Many individual plaintiffs and class

 representatives are unlikely to be able to pursue protracted and costly litigation at their

 own expense. That is especially true where, as here, the claims are complex and require

 expert testimony, the individual damages suffered by some Plaintiffs may be

 significantly less than the cost of prosecuting the action, and many Plaintiffs are part of

 lower-income households. The significant expenses, combined with the high degree of

 uncertainty of ultimate success, make contingent fees a virtual necessity for such cases.

       Public policy thus strongly supports the Fee Proposal. Without the prospect of

 eventual compensation for Plaintiffs’ Counsel here, these cases might never have been

 brought. Approving the Proposal will help ensure that plaintiffs’ attorneys continue to

 take up important cases like these in the future.

            iv. The Value of Services on an Hourly Basis

       Courts commonly use counsel lodestar as a “cross-check” to confirm the

 reasonableness of a percentage award.50 This analysis is not a precise science, but rather




 1974) (“society’s stake in rewarding attorneys who produce such benefits in order to
 maintain an incentive to others” is an important factor); Bowling, 102 F.3d at 780;
 Smillie, 710 F.2d at 275.
       50
            5 William B. Rubenstein, Newberg on Class Actions §§ 15:84, 15:88 (5th ed.
 2020).


                                             30
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 a tool for rough comparison among cases. “In contrast to employing the lodestar method

 in full, when using a lodestar cross-check, the hours documented by counsel need not be

 exhaustively scrutinized by the district court.”51 “To determine the lodestar figure, the

 court multiplies the number of hours reasonably expended on the litigation by a

 reasonable hourly rate. The court may then, within limits, adjust the lodestar to reflect

 relevant considerations peculiar to the subject litigation.”52 “A reasonable hourly rate is

 determined according to the prevailing market rates in the relevant community. To

 ascertain that community, district courts ‘are free to look to a national market, an area

 of specialization market, or any other market they believe appropriate to fairly

 compensate particular attorneys in individual cases.’”53 “[N]ormal billing rates usually

 provide an efficient and fair short cut for determining the market rate.”54

       As described in the declarations submitted in support of this motion, Plaintiffs’

 Counsel have spent 182,571 hours performing common benefit work for the Plaintiffs



       51
          In re Cardinal Health Inc. Sec. Litigs., 528 F. Supp. 2d 752, 767 (S.D. Ohio
 2007) (citation and internal quotation marks omitted).
       52
           Gascho v. Glob. Fitness Holdings, LLC, 822 F.3d 269, 279 (6th Cir. 2016)
 (internal citation and quotation marks omitted).
       53
          In re Auto. Parts Antitrust Litig., No. 12-md-02311, 2018 WL 7108072, at *3
 (E.D. Mich. Nov. 5, 2018) (quoting Ford v. Fed.-Mogul Corp., No. 2:09-cv-14448, 2015
 U.S. Dist. LEXIS 3399, at *2-3 (E.D. Mich. Jan. 7, 2015) (quoting McHugh v. Olympia
 Entm’t, Inc., 37 F. App’x 730, 740 (6th Cir. 2002))).
       54
         Hadix v. Johnson, 65 F.3d 532, 536 (6th Cir. 1995) (citation and quotation
 marks omitted).


                                             31
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 here.55 This results in a lodestar of more than $84,510,456 at Plaintiffs’ Counsel’s

 current rates56 and approximately $80 million at historical rates.57 This lodestar includes

 only common benefit work performed in conformance with the Time and Expense

 CMO. Therefore, it does not include additional legal work performed by individually

 retained counsel solely on behalf of their clients. This common benefit time has been

 submitted to Special Master Greenspan on a monthly basis for review.58 The lodestar



        55
          See Decl. of Theodore J. Leopold in Supp. of Pls.’ Mot. for an Award of
 Attorneys’ Fees & Reimbursement of Expenses (“Leopold Decl.”) ¶ 5, Ex. 1; Decl. of
 Corey Stern in Supp. of Pls.’ Mot. for Award of Attorneys’ Fees & Reimbursement of
 Expenses (“Stern Decl.”) ¶ 6, Ex. 2; Decl. of Hunter J. Shkolnik in Supp. of Pls.’ Mot.
 for Award of Attorneys’ Fees & Reimbursement of Expenses (“Shkolnik Decl.”) ¶ 3,
 Ex. 4. Should the Court request, Plaintiffs’ Counsel will provide detailed time records
 for the Court to review in camera.
        56
           The Supreme Court and courts in this Circuit have recognized that, “[t]o
 compensate for the delay Plaintiffs’ Counsel encounter[] in receiving compensation” in
 contingent fee cases, “it is appropriate to use current fee rates in calculating the
 lodestar.” Connectivity Sys. Inc. v. Nat’l City Bank, No. 2:08-CV-1119, 2011 WL
 292008, at *13 (S.D. Ohio Jan. 26, 2011) (citing Missouri v. Jenkins, 491 U.S. at 283-
 84 (using current rates)); Perdue v. Kenny A. ex rel. Winn, 559 U.S. 542, 556 (2010)
 (“Compensation for this delay is generally made either by basing the award on current
 rates or by adjusting the fee based on historical rates to reflect its present value.” (citation
 and quotation marks omitted)). The Sixth Circuit has approved the application of current
 billing rates in cases involving significant delay in receiving compensation. See Barnes
 v. City of Cincinnati, 401 F.3d 729, 745 (6th Cir. 2005) (finding current market rates
 reasonable because litigation “had been ongoing for nearly six years”); Arthur S.
 Langenderfer, Inc. v. S.E. Johnson Co., 684 F. Supp. 953, 958 (N.D. Ohio 1988) (noting
 that current rates were appropriate to counterbalance a delay in payment).
        57
          Leopold Decl. ¶ 5. Neither of these totals include Levy Konigsberg, LLP’s total
 lodestar, which will be provided separately. Certain firms have not provided their
 lodestar at historical rates here.
        58
             Time and Expense CMO ¶ 9, PageID.15829; Prelim. Approval Order at 10-11,


                                               32
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 also excludes all time spent on the preparation of this fee petition and other Time and

 Expenses Admin time.59 Class Counsel’s total lodestar as of February 15, using the same

 methods, is $67,732,431.50 using current rates and $65,682,510.50 using historical

 rates. Plaintiffs’ Counsel’s blended hourly rate (total lodestar divided by total hours) for

 the common benefit time is $558.57 (and $561.35 for Class Counsel).60 Courts in this

 District have found comparable rates to be reasonable in other complex litigation.61

       Courts in this Circuit also recognize that a fee award may appropriately use a

 “multiplier” or enhancement of counsel’s lodestar. The multiplier is the ratio of the fee

 awarded to counsel’s lodestar. “[E]nhancing the lodestar with a separate multiplier can

 serve as a means to account for the risk an attorney assumes in undertaking a case, the




 PageID.54407-54408.
       59
            Leopold Decl. ¶ 5.
       60
           This calculation excludes Levy Konigsberg, LLP, which will provide its
 lodestar separately.
       61
          Martin v. Trott Law, P.C., No. 15-12838, 2018 WL 4679626, at *9 (E.D. Mich.
 Sept. 28, 2018) (finding $570 blended hourly rate reasonable); Doe 1-2 v. Deja Vu
 Servs., Inc., No. 2:16-cv-10877, 2017 WL 2629101, at *10 (E.D. Mich. June 19, 2017)
 (finding blended hourly rate of $542 reasonable), aff’d sub nom., Does 1-2 v. Deja Vu
 Servs., Inc., 925 F.3d 886 (6th Cir. 2019); see also In re Auto. Parts, 2018 WL 7108072
 at *3 (“In national markets, partners routinely charge between $1,200 and $1,300 an
 hour, with top rates at several large law firms exceeding $1,400. In specialties such as
 “antitrust and high-stakes litigation and appeals . . . [f]or lawyers at the very top of those
 fields, hourly rates can hit $1,800 or even $1,950. Some “difference makers” in the most
 complex fields . . . even charge $2,000 an hour.” (internal citations and quotation marks
 omitted)).


                                              33
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 quality of the attorney’s work product, and the public benefit achieved.”62

       While the total amount of attorneys’ fees to be paid under the Proposal is yet to

 be determined because certain attorneys’ fees contemplated by the Proposal will be paid

 only upon successful recovery by individual Claimants from the Fund, the lodestar can

 be used to gauge the reasonableness of the global 6.33% CBA Plaintiffs’ Counsel seek

 upfront. That CBA amounts to $40,591,125.00, well less than Plaintiffs’ Counsel’s more

 than $84 million of common benefit lodestar to date. Courts routinely approve awards

 that represent a substantial increase of counsel’s actual lodestar.63 Although the 6.33%

 global CBA is not the only fee contemplated by the Proposal, the lodestar cross-check

 nevertheless clearly demonstrates the reasonableness of this component of the Proposal.

       Although involving considerable extrapolation and approximation, a lodestar

 cross-check can also be performed to roughly gauge the reasonableness of the overall



       62
          Rawlings, 9 F.3d at 516; see also In re Superior Beverage/Glass Container
 Consol. Pretrial, 133 F.R.D. 119, 131 (N.D. Ill. 1990) (“[M]ultipliers should
 compensate counsel for the risk they incurred in bringing a case in which their
 compensation was contingent on their success, should recognize any extraordinary
 performance by particular counsel and should encourage the filing of meritorious class
 actions. Straight hourly rates will rarely, if ever, accomplish these objectives.”).
       63
            See, e.g., In re Cardinal Health, 528 F. Supp. 2d at 767-68 (awarding a
 multiplier of 6 and noting that “[m]ost courts agree that the typical lodestar multiplier
 . . . ranges from 1.3 to 4.5”); Concussion Inj. Litig., 2018 WL 1635648, at *9 (E.D. Pa.
 Apr. 5, 2018) (awarding multiplier of 2.96 excluding settlement implementation), aff’d
 in relevant part, 814 F. App’x 678 (3d Cir. 2020); N.Y. State Tchrs.’ Ret. Sys., 315
 F.R.D. at 243-44 (noting court agreement for typical multipliers ranging from 1.3 to 4.5
 and awarding multiplier of 1.9); Kogan v. AIMCO Fox Chase, L.P., 193 F.R.D. 496,
 503-04 (E.D. Mich. 2000) (approving an effective multiplier of 2.21).

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 attorneys’ fees contemplated by the Proposal. This lodestar cross check is inherently

 conservative and approximate for several reasons. First, the lodestar to date does not

 factor in the extensive time Plaintiffs’ Counsel will spend administering the Settlement.

 Second, the lodestar reported here excludes all lodestar accumulated by individually

 retained counsel for non–common benefit work, which is also meant to be compensated

 under the Proposal. With those caveats, if one assumes that all net Settlement funds

 ($600,658,875.00) are paid out, and that those funds are universally subject to the

 maximum attorneys’ fees of 27% applying to those funds (i.e., $162,177,896.00), the

 total fee award to all Plaintiffs’ Counsel in these cases would amount to

 $202,769,021.00. That would yield a lodestar multiplier of less than 2.4 given that

 Plaintiffs’ Counsel’s common benefit lodestar to date alone (not including Levy

 Konigsberg, LLP and its more than 30,000 hours of common benefit work) is already

 $84,510,456.

       By all measures, the total fees requested by Plaintiffs’ Counsel are a reasonable

 multiple of their lodestar. The resulting blended rate is in line with those approved in

 this District and rates approved in fee shifting contexts. Accordingly, the requested fees

 amounting to a maximum of 31.6% of the Settlement Fund are reasonable in light of the

 value of Plaintiffs’ Counsel’s time on an hourly basis.

          v. The Complexity of the Litigation

       Prosecution of virtually any mass tort or complex class action presents intricate

 and novel issues. This case is no exception. The legal and factual issues surrounding this

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 case have been highly complex. Indeed, this Court has noted how “the Flint Water Cases

 are abundant, complex, and have been intensely litigated.”64 This factor strongly favors

 Plaintiffs’ Fee Proposal.

            vi. The Quality of the Representation

       Plaintiffs’ Counsel are known leaders in class action, mass tort, and complex

 litigation. The quality of their representation here is demonstrated by the substantial

 benefit achieved through the Settlement for the Plaintiffs and the effective prosecution

 and resolution of the action vis-à-vis the Settling Defendants. The quality of opposing

 counsel is also important when a court evaluates the services rendered by plaintiffs’

 counsel.65 Nationally known, prominent, and extremely capable counsel represent

 Defendants and have vigorously defended this action. The ability of Plaintiffs’ Counsel

 to obtain a favorable result in the face of such qualified opposition is further evidence

 of the quality of their work.

       This Court has recognized the quality of representation here in recently

 reappointing Co-Liaison Counsel and Co-Lead Class Counsel, noting that “Counsel’s


       64
          Prelim. Approval Order at 13, PageID.54410; see also id. at 51, PageID.54448
 (“Class representatives and class counsel have been litigating this case for nearly five
 years in a suit that has involved extensive motion practice, numerous appeals, and
 petitions for certiorari filed with the United States Supreme Court. . . . This case has
 been zealously litigated already, by a team of national and local firms on all sides.”
 (quotation marks and citation omitted)).
       65
            E.g., Maley v. Del Glob. Techs. Corp., 186 F. Supp. 2d 358, 373 (S.D.N.Y.
 2002).


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 performance warrants reappointment for many reasons, including but not limited to, the

 ongoing settlement process and litigation work.”66 In granting preliminary approval of

 the Class Settlement, the Court similarly “conclude[d] that Co-Lead Class Counsel, as

 well as Subclass Settlement Counsel . . . have lived up to their appointments in

 vigorously representing Plaintiffs through the litigation and settlement processes.”67

       These factors accordingly all weigh in favor of the fee award requested. The Court

 should grant Plaintiffs’ Fee Proposal.

    B. The Court Should Approve Plaintiffs’ Counsel’s                       Request       for
       Reimbursement of Reasonable Litigation Expenses

       Plaintiffs’ Counsel also request reimbursement of common benefit expenses

 incurred so far in connection with the prosecution of this litigation. Pursuant to the Time

 and Expense CMO, ECF No. 507 ¶¶ 20-32, PageID.15834-15842, these expenses

 include both Shared Costs paid by the Flint Litigation Fund and Held Costs paid by

 individual firms for the common benefit of Plaintiffs. Plaintiffs’ Counsel have incurred

 common benefit expenses in the aggregate amount of $7,158,987.33.68 Of this,

 $4,228,380.33 has been incurred by Class Counsel, with the Class Litigation Fund




       66
         Order Reappointing Interim Individual Co-Liaison Counsel and Interim Co-
 Lead Class Counsel at 2, Nov. 2, 2020, ECF No. 1306, PageID.39846.
       67
            Prelim. Approval Order at 46, PageID.54443.
       68
         Leopold Decl. ¶¶ 7-10; Shkolnik Decl. ¶ 7; Stern Decl. ¶ 10. Plaintiffs’ Counsel
 may later seek reimbursement of future expenses.


                                             37
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 paying $3,477,019.40, and Held Costs constituting $751,360.93.69

       “The common fund doctrine . . . authorizes reimbursement of the reasonable

 amounts paid out-of-pocket to achieve a common benefit recovery or to advance the

 common goals of plaintiffs.”70 This rule applies in the class action context as well:

        Under the common fund doctrine, class counsel is entitled to
        reimbursement of all reasonable out-of-pocket litigation expenses and
        costs in the prosecution of claims and in obtaining settlement, including
        expenses incurred in connection with document productions, consulting
        with experts and consultants, travel and other litigation-related expenses.
        “Expense awards are customary when litigants have created a common
        settlement fund for the benefit of a class.”71

       Expenses are compensable in a common fund case if the particular costs are of

 the type typically billed by attorneys to paying clients in the marketplace.72 The

 categories of expenses for which counsel seek reimbursement here are the type of

 expenses routinely charged to hourly clients, were necessary to the prosecution of the

 case, and should therefore be reimbursed out of the common fund. The Settlement



       69
            Leopold Decl. ¶¶ 7-10.
       70
         In re NuvaRing, 2014 WL 7271959, at *4; see also In re Orthopedic Bone Screw
 Prods. Liab. Litig., 2000 WL 1622741 (E.D. Pa. Oct. 23, 2020) (awarding 4% of the
 gross recovery for reimbursement of litigation expenses); Phipps Grp. v. Downing (In
 re Genetically Modified Rice Litig.), 764 F.3d 864 (8th Cir. 2014) (approving over
 $5,000,000.00 in expenses to the common benefit attorneys).
       71
            In re Cardizem CD, 218 F.R.D. at 535 (citation omitted).
       72
         Id. (citing In re Synthroid Mktg. Litig., 264 F.3d 712, 722 (7th Cir. 2001)); see
 also U.S. Football League v. Nat’l Football League, 887 F.2d 408, 416 (2d Cir. 1989)
 (“[W]e have held that attorney’s fees awards include those reasonable out-of-pocket
 expenses incurred by attorneys and ordinarily charged to their clients.”).

                                             38
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 Agreement states that “Counsel for Individual Plaintiffs and Class Members shall be

 reimbursed and paid solely out of the FWC Qualified Settlement Fund for all expenses

 . . . , including but not limited to: . . . past, current, or future litigation and administration

 expenses (including, but not limited to, experts’, consultants’, and guardians ad litem

 fees and expenses); and the costs of providing the Settlement Class Notice and

 Individual Notice.” Settlement Agreement ¶ 11.1, PageID.54159-54160.

        A significant component of Plaintiffs’ Counsel’s expenses here is the cost of the

 expert work performed on behalf of the Plaintiffs.73 Plaintiffs’ Counsel retained more

 than 20 highly qualified experts in a variety of fields—including civil and environmental

 engineering, chemical engineering, urban planning, human health, economics, and

 ethics—to analyze the circumstances giving rise to the water crisis, the responsibilities

 of the engineering defendants, the medical and economic impact of the crisis on

 residents and businesses in Flint, and the remedial work that must occur to make them

 whole. The reports provided by Plaintiffs’ experts include technical analysis of the

 circumstances leading to lead leaching into Flint water; geospatial analysis of the homes

 in Flint with increased lead; analyses regarding the various consequences of increased

 lead exposure for children and adults; economic analyses of the impact of the water

 crisis on residential property values and businesses in Flint; and analysis of the cost to

 remediate homes damages by Flint’s contaminated water. This work required many


        73
             See Leopold Decl. ¶ 8.

                                                39
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 hours of research, calculating, and drafting, and was further complicated by the need to

 find alternative sources for materials that were inaccessible due to COVID-related

 restrictions on libraries and universities. These experts provided significant services on

 Plaintiffs’ behalf, and their expenses were necessarily incurred for the successful

 prosecution of this litigation and instrumental in procuring the Settlement.

       Because these expenses were necessary to prosecute this litigation and achieve

 the Settlement, and because they are the types of expenses typically reimbursed in such

 cases, the Court should grant this request.

                                  V.    CONCLUSION

       For the reasons stated herein, Plaintiffs request that the Court grant their Motion.




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    Dated: March 8, 2021                    Respectfully submitted,

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                           CERTIFICATE OF SERVICE

  The undersigned certifies that the foregoing instrument was filed with the U.S.
  District Court through the ECF filing system and that all parties to the above case
  were served via the ECF filing system on March 8, 2021.


   Dated: March 8, 2021                        /s/ Theodore J. Leopold
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